                      Case 1:21-cr-00028-APM Document 1 Filed 02/24/21 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________

                  United States of America                          )
                              v.                                    )
                                                                    )      Case No.
                   ROBERTO A. MINUTA                                )
                                                                    )
                                                                    )
                           Defendant(s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of                                  in the
                       District of            Columbia          , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. §§ 1512(c)(2), 2                       Obstruction of an Official Proceeding and Aiding and Abetting
18 U.S.C. §§ 1752(a)(1)                          Restricted Building or Grounds
18 U.S.C. §§ 1512(c)(1)                          Tampering with Documents or Proceedings




         This criminal complaint is based on these facts:
See attached Affidavit in Support of Criminal Complaint.




         u Continued on the attached sheet.



                                                                                               Complainant’s signature

                                                                                      Marc A. Esposito, Special Agent, FBI
                                                                                                Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.
                                                                                                           2021.02.24
Date:             02/24/2021                                                                               15:44:54 -05'00'
                                                                                                  Judge’s signature

City and state:                           Washington, DC                            Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                Printed name and title
